UNITED STATES

V.

MAX ALBERTO ESTRADA LINARES :

Defendant

LETTERS TO T:

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EM

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

Case No. 16-CR-0067 (HEH)

DEFENDANT’S POSITION IN AID OF SENTENCING

 

EXI~

 

 

 

 

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* COURT FROM

 

 

 

 

 

 

4 DEFNDANT’ S

 

 

RELIGI<)US COMMUNITY
(PART 2)

Evangeiicai Church of Los VaHes
February 14 Neighborhood, Lot 4, 1. Final Street
Puerto San }ose, Escuintla

San lose, Escuintla August 17, 2918

Sir
Hudson
judge

Hereby:

Hereby we warmiy greet you wishing you are weil in health With your family
and enjoying the rich biessings of our lord.

This letter is to let you know I’ve known Mr. Max Estrada since a few years,
which is an honorable honest hardworking person with good faith and principies.
He has been characterized as a good young guy in our community Who has Christian
principles, which is part of a good humbie famin with good principles and faith.

§ do not have any inconvenience to recommend him anywhere and I give
faith of his personl I sign hereby on a letter size paper.

¥ attest

Veronica Lopez Emanue} Cont:reras
Pastor Secretary

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M<BQ»MM

San Iesé, Escuint!a 17 de Agosto 2818

Seiior
Hndson
inez

Presente:

Por este mede ie saludamos carifiosamente deseando se encuentre bien de salad al
§ado de se families y este gozando de las rices bendiciones de nuestro Dios.

La presente es para haeer de su conocimiento que conozco ai Seiior Max Hsn‘ada,
desde base varies afies quien es ama persona Horada, Honesta, Trabajedera, de
Buenos Hébitos y de buena F , desde hace varies aims atrés conozco al Seiioz‘ Estrada
quien se ha caracterizado un buen joven dentro de nuestra comunidad quien tiene

principios cristianos, el cuai es de one buena fami}ia humiide de buenos hébitos y de
buena fe.

Por 10 que no tengo ningl§n inconveniente en recomendar!o en cualquier lugar y per
todo y tedo Doy fe de su persona. Firmo ia presente en ana hon de papei bond tamar"xe

 
     
 

  

 

C&l’ta.

Doy fe.
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lesus Lives!
Ehristian Biblical Church

Guatemala 08~06-2018

Sr. ludge: Hudson:

in the most attentive way, l attest that our Ministry lesus Lives, that has in charge
the Word of God in Mariscal Zavala jail during 23 months up until today. God has
allowed us to operate in at least three levels of inmates First: Males whom do not
want anything with their creator; Second, a few people who listen but do not allow
and make changes in their lives; and third, people who recognize their mistakesl
restitnte their family lives and operate radical changes around them becoming
leaders of God within the inmates’ communities They are an example, bringing hope
and becoming valuable people for others

in a Very small population 220 inmates We have 17 prayer groups Where it is

virtually very hard that incorrect conducts take place Within the jail because the

word of God predominates and there is consolation and hope among the inmates
population

Mr. Max Alberto Estrada Linares belongs to this third group as a leader, and his
conduct somehow made us sorry upon his departure l know there is nobody Who
has net failed God, but in an especial way, l appeal to your mercy because this man is
today God's servant and we give testimony all of us who have proximity to hirn.
Thanl< you in advance for the attention and if you require any additional
information do not hesitate to contacting me directly at 502~56019090.

Ricardo Collado

General Pastor lesucrsito Vive Church
Guatemalan Army Chaplain

 

Con fraternide Carcelaria
Guatemala

Mus aim del crimes y el msz'ig,n?M

Gnatemala 05 de agosto 2(}18

Seiior
luezz Huds¢m
Sudespacho

S&l"l{}f 1882

Be la manera mas atenta, barge constar, que meon ministerio lesucnsto Vive, que tlene
a so cargo ia paiabra tie Dios en el Preventivo Mariscal Zavala, durante 23 meses haste
hoy, Dios nos ha permitido per lo manos operar en tree niveles de prh'ados de libertad,
el primero: Varones qae no quieren nada absolutamente con so creation des alganas
personas one oyen, pete de nlnguna manera permiten y hazen cambios en so vida, y el
tercero, personas que reconocen sua errores, restituyen so vida familiar y operan
cambios radicales en so antonio y se convierten en lideres de Dlos denno de la
comunidad en cautiverlo. y elias con so ejernplo y so compania dan esperanza y se
connerten en personas de gran vaior y ejemplo para los demés,

in ana poblacion ten pequeiia, 220 privados de libertad, tenemos 17 grupos de citation
donde virtuaimente es may dificil que ahora seen frecuentes las condoctas no correctas
elentro del penal, ya que predomina la palabra de Dios y hoy hay consuelo, y esperanza
denno de la noblaclon.

El Hno. Max Alberto Estrada Linares, petteriece a este altimo grupo, solo que en calidad
de lider, y su conducta, hlzo que de alguna manera, so partida dejara un santa de pesar
entre nosotros, se que no hay qulen no hays fellatio delante de Dios, pete de manera
may especiall apelo a se misericordia, porque este hombre es hoy on siewo de Dios y
so testimonio lo demos todos los que tenemos cefcania con el_

Be antemano agradezco la mention que se sirva dar a la misma y coalqoier information
adicionai, no dade en hacerio directamente a mi teléfono 502-5663.9090.

 
  

' Capelfén de Presidios.

Eta. Avenida Norte y lra. Calle Poniente, Antigua Guatemala, C.A.
Teléfono; 5710-4335` ¢ pastoralpen§tenciaria.gt@gmall.com ¢ www.pfguatemala.org

}esus Livesl
Christian Bihlical Church

Guatemala 08~06-2018

Sr. ludge: Hudson:

Bear Sr. judge l write to attest hereby that Mr. Max Alberto Estracla Linares has been
the point of contact between inmates and our church, facilitating our closeness to be
able to carry jesus Chris’s gospel to bring consolation and hope to the men
separated from their families and society, he is a person We’Ve known and respected
for the last 2 years for his collaborao`on and devotion. l-loping this letter is taken into
account With the purpose of bringing justice in God’s Way When We see a repentant
person with a new attitude in the middle of prison and loneliness.

Attorney Cesar Schaeffer
Legal Representative

 

Guaiemaia 96-08-2018

Sr..iuez: Hudsen

Estimado Sr. Juez, me permits bases constar per medie de le preeente, gee
et Sr. . Max Aibene Estrada Linares, ha side siempre unc de ios puntoe de
eontacto entre los privades de iibertad y nuestre igiesia, facilitande ia
eereania nuestra para podef iievar et evangeiio de nuestro Sei"ior Jesucristo
y poder asi iievar consueio y esperanza a los hembree eeparedoe de sue
vidas familiares y cemenia a 1a sociedad, es una persona que a in fargo de
des enos hemos iiegedo a comr y respetar, per su coieboraeien y entrega,
esperams se siwa tower en cuente este carta a fm de poder brindax'juetieie
a ia manera de Dios, wanda vemos una persona arrepentida y con en nuevo
seminar en media de prisién y seiedad.

   
 

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i_ic. Ceser Schaefier
Representante Legai

Guarernaia, August 22 2918
Sir
judge Hudson
Your Office
f have the honor to write you wishing you success and at the same time
hereby acknowiedging thatf thank MAX ALBERTO ESTRADA LENARES identified
with iD number 1607994»060509 because he donated us wooden crutches and

medication needed for our community where there are many people With need
without possibilities to obtain free medications

Respectfuily,

Sincerely,

Ronaid Ivan Moraies Barrios
iD # 2715428451301

Goatemata, 22 de agosto de 2013

Ser“ior
inez Hudson

Su Despacho

Tengo ei honor de poder dirigirme a listed desea'ndoie éxitos y a ia vez hacer de su
conocimiento nor media de ia presente QUE agradezco ai senior MAX ALBERTG ESTRADA LINARES,
quien se identifica con so nomero de identificacion personal DP\ numero 1607994060509, nos
brindo ayuda con muietas de madera para incapacitados y ia donacion de medicamentos que en

nuestra enmonidad hay mochas personas de escasos recursos sin posibifidad de obtener

medicines gratuitamente.

Me suscribo de usted.

Atentamente,

 

 

 

 

August 14, 2018

Sir:

lodge Hudson

Respectable Sir:

l Write you Wishing success in your daily tasks

”l`he purpose of this letter is tolbeg you to take into consideration my Words so Mr.
Max Alberto Estrada Linares is judged fairly taking into account that he is a good,
hardworl<ing, honest responsible person always helping others, not only at work
aspect but also morai. He helped his community with What he could; he is an
exemplar and responsible father for his daughters and lovely husband

We ask and beg that the sentencing is not very since his famiiy; specially his wife
and daughters are the most allected for being far away, and most importantly

depend on him economically

l say bye to you and thank you for your understandingl

Sincerely,

Roxana ALvarez

 

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Guatemala july 29, 2018

'i"o Whom lt May Concern:

Respectfolly l present my testimony about Mr. Max Albei'to Bstrade, who
faces a legal case in United States of Arnerica. Brother Max was called to join the
word of jesus Son of God’s church. Becanse of his good testimony at the Mariscal
Zavala fail in Guatemala, he Was selected by the love of God to follow our ]esus Lord
steps in faith and for his compassion and love towards others

l know God will look after him and show his mercy.

God Bless You

juan de Dios de la Cruz Rodriguez L.

General Pastor

lesus Christ Church

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WGRKERS UNIGN
PORT CDMPANY QUETZAL
Km. 102 Escuintla Highway ~ Puerto Quetzal
Escuintla, Guatemala, C. A.
e-maii: steaa_aeatemaia@yahoooem

Engineer

DScar lose Alvarez Abuiaach
General Manager

Port Company Quetzal
Yours truly,

Engineer Alvarez:

Receive a warm greeting from the executive committee and the advisory
counsel from the workers union at the Quetzal Port Company [STEPQ).

'i`he motive of this letter is to inform you the occurred at the Extraordinary
General Assembly, which we attach a copy of the certification correspondent Act
and for Which respectfully request from the date the administration respects the
established in the attached act.

Without anything further and in hope of your commitment to apply the dispositions
this honorable assembly subscribe to you sincerely

Lazaro Noe Reyes Matta Max Alherto Estrada Liriares
Organization Secretary Conflicts and Work Secretary
Eulogio Gbispo Monzon Merida Oscar Giovany Gonzalez Donado
Finance Secretary Acts and Agreernents Secretary
Cesar Edmundo Estrada Castaneda lose Alfredo Castro

Culture and Sports Secretary Social Prevention Secretary
Neison Robert Rod:riguez Mendez Mario Rene Charuco Calderon
Controi and Statistics Secretary Advisory Counsel

CC Presidency of the Republic, Ministx'y of Communications, Board of Directors,
Management, Department Police Stations

SINDI CA T 0 DE TRABAJADORES
EMPRESA PGR TUARIA QUETZAL

Km. 102 Autopista Escuintla - Puerto Quetzai
Escuintla, Guatemala, C_ A.
e-mail: stepq_guatemala@yahoo.eom

 

Puerto Quctzal, 09 dc j ullo de 2009

Liceociado

lidgat Rolanclo Acevcclo Navas
Getente Aclmim`stratlvo
l"§mpresa Portuaria Quetzal

Su Despacho.

 

Llcenciado Acevedo:

Recil)a un cordial saludo de parte del Sindicato de 'l`rabajadoi.'es de limpresa portuarla
Quetzal (STEPQ}.

El motive de la prescote es para solicitor su vallo:aa colabomeion al respecto nos
proporcione un Bus para transporter a la Banda Musical del colegio Szmta Maria hecla el
municipio de Santa Lucia Cotzumalguapa el alia sabado ll de julio del presente tries y axio, asi
mismo también el die silbele Ol de agosto al festival quo se realizam en Guenagazapa F€scuintla
saliendo de dicho establecimiento educativc) a las 06:3OAM en ambas fechas, ya que come
bands musical participan en las clisu`ntas actividades que se hacen dentro y fuera del pais.

No esm dema's inclicarle que en varies ocaslones dicha benda nos ha colaborado en la
distlntas acri\'iclades que como organizaclén homes tenido sin costa alguno, pot tel motivo

solicitamos nos apoyc con lo solicitado.

Sin mas que agregat y en espera de nos respuesta positiva nos suscrll)lmos de ustecl.

    
   

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,» lilly ljlllj
Lz'izaro oe Reyes l\, :
Secret! .`0 ’

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Secretan`o ne Contr )l y Estadistica

          

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Mario Rene Charuco Calderc')
Consejo Consultlvo y

 

 

Guatemala, August 6, 2918

Hello Sir judge we ask you have mercy on Max Aiberto Estrada Linares so he gets
taken out of that place lie is a good person i am Merlyn Xiomarra Carmona Escobar
and am a thankhil young girl with Max Estrada because he has helped us during
these years, supporting the youth and We ask Gocl he is taken out of that place and
We thank you Sir lodge and beg you to take into consideration my Words, hoping
they mean something Thanks for everything

Merlyn Xiomarra €armona Escobar

 

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